






NO. 07-03-0105-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



NOVEMBER 17, 2003



______________________________




SAMMY RAY ESCOBAR, JR., APPELLANT



V.



THE STATE OF TEXAS, APPELLEE




_________________________________



FROM THE 108TH DISTRICT COURT OF POTTER COUNTY;



NO. 40,383-E; HONORABLE ABE LOPEZ, JUDGE



_______________________________



Before JOHNSON, C.J., and REAVIS and CAMPBELL, JJ.

ORDER


	Following the filing of an Anders brief by appointed counsel, (1) appellant filed a pro
se motion for extension of time in which to file a response to the brief.  The motion was
granted extending the deadline to December 12, 2003.  When the Anders brief was filed
appointed counsel also filed a motion to withdraw; however, the motion has yet to be ruled
on by this Court.  See generally Penson v. Ohio, 488 U.S. 75, 80-82, 109 S. Ct. 346, 102
L. Ed. 2d 300 (1988) (holding that a motion to withdraw should not be ruled on before an
appellate court makes its own independent review of the record to determine whether
counsel's evaluation that the appeal is frivolous is sound); see also Stafford v. State, 813
S.W.2d 503, 510 (Tex.Cr.App. 1991) (en banc).  Counsel has provided us with a copy of
his letter to appellant informing him of his right to review the record and file a pro se
response to the Anders brief.  In the letter counsel suggests that appellant notify the Clerk
of this Court to make proper arrangements to gain access to the record.  Now pending
before this Court is appellant's pro se "Motion For Use Of Clerk's Record and Reporter's
Record" by which he requests that the appellate record be made available to him to aid him
in preparation of his response.  For the reasons expressed herein, we overrule the motion.

	It is well settled that the trial court has the duty to provide an indigent defendant with
an adequate record on appeal.  Newman v. State, 937 S.W.2d 1, 3 (Tex.Cr.App. 1996) (en
banc), citing Abdnor v. State, 712 S.W.2d 136, 139 (Tex.Cr.App. 1986) (en banc).
However, we have found no decision addressing on whom the responsibility falls of
ensuring that an indigent appellant obtains access to the record for review for possible
preparation of a pro se response in an Anders appeal.  Our sister courts in San Antonio
and Waco have suggested in footnotes that it is counsel's responsibility to explain to an
appellant the details of the procedure for obtaining access to the record.  See Bruns v.
State, 924 S.W.2d 176,180 n.1 (Tex.App.-San Antonio 1996, no pet.); Evans v. State, 933
S.W.2d 334, 335 n.1 (Tex.App.-Waco 1996, no pet.); Johnson v. State, 885 S.W.2d 641,
647 n.2 (Tex.App.--Waco 1994, pet. ref'd).

	The Texas Rules of Appellate Procedure provide that in criminal cases the trial court
clerk and the court reporter must prepare the clerk's record and reporter's record in
duplicate.  See Tex. R. App. P. 34.5(g) &amp; 34.6(h).  The rules also direct that the trial court
clerk retain a copy of the clerk's record and that the court reporter file a copy of the
reporter's record with the trial court clerk for use by the parties with permission of the trial
court.  

	The decision to grant counsel's motion to withdraw from an Anders&nbsp;appeal may not
be made until after an appellate court makes an independent review of the record to
determine whether meritorious issues exist.  Penson, 488 U.S. at 80.  An appellate court
should not proceed to address the merits of the appeal until after the pro se response is
received or a reasonable opportunity for filing one has lapsed.  Wilson v. State, 955
S.W.2d 693, 696 (Tex.App.-Waco 1997, no pet.).  Thus, until an appellate court
determines that an appeal is frivolous and grants counsel's motion to withdraw, counsel
remains the attorney of record and is bound by the Rules of Professional Conduct to act
zealously in his client's behalf and to promptly comply with reasonable requests for
information.  See Tex. Disciplinary R. Prof'l Conduct 1.01, comment 6, and 1.03, reprinted
in Tex. Gov't Code Ann. tit. 2, subtit. G app. A (Vernon 1998) (Tex. State Bar R. art. X, §
9).  Accordingly, we hold that appointed counsel has the responsibility to procure a copy
of the record for appellant to review in preparation of his pro se response to the
Anders&nbsp;brief.  Pursuant to Rules 34.5(g) and 34.6(h) of the Texas Rules of Appellate
Procedure, appointed counsel should immediately request permission from the trial court
to obtain the duplicate clerk's and reporter's records filed with the trial court clerk for use
by appellant in preparation of his response.  Appellant's pro se motion is overruled.

	It is so ordered.

							Per Curiam  

    

Publish. 
1. Anders v. California, 386 U.S. 738, 87 S. Ct. 1396, 18 L. Ed. 2d 493 (1967).



OCK and PIRTLE, JJ.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Jolea Ann Cornelius was convicted of possessing a controlled substance
(methamphetamine) and being a felon in possession of a firearm.  After the trial court
denied her motion to suppress, she pled guilty to both offenses and was sentenced by a
jury after a punishment hearing to twenty years confinement for the former offense and ten
years confinement for the latter.  Her three issues on appeal involve whether the trial court
1) erred in denying her motion to suppress, 2) abused its discretion in admitting, during the
punishment phase of the trial, evidence of other bad acts when the State had not afforded
appellant notice of its intent to proffer that evidence, and 3) in omitting a reasonable doubt
instruction from the charge when asking the jury to assess punishment for the offense of
possessing a controlled substance.  We affirm the judgments.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Background
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On August 18, 2007, Deputy Gabe Narramore of the Potter County Sheriff’s Office
was traveling behind a vehicle driven by appellant.  She came to a stop at an intersection
whereat a flashing yellow light was located.  After she proceeded through the intersection,
he initiated a traffic stop and discovered that appellant had no driver’s license, had no proof
of insurance on the vehicle, and had an outstanding warrant.  Upon her arrest, appellant
told Narramore that the vehicle was not hers and, therefore, she did not know what was
in it.  When another deputy advised appellant he was going to search the driver’s side of
the vehicle, she allegedly consented to it.  Appellant’s open purse was found on the front
seat of the car and a plastic container holding what an officer believed to be contraband
was seen in it.  Upon further search of the purse, the officer also found a handgun in a
zippered compartment. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Issue 1 - Motion to Suppress
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant argues that the trial court should have suppressed the drugs and gun
found in the vehicle because the traffic stop was not valid.  We overrule the issue.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;As previously mentioned, appellant was the subject of an outstanding arrest warrant
at the time of the stop.  Though the officers did not know this until they detained her, the
fact that a warrant was outstanding cleansed the stop and search of any taint that may
have arisen from the initial detention.  Hudson v. State, 247 S.W.3d 780, 787 (Tex. App.–
Amarillo 2008, no pet.); Fletcher v. State, 90 S.W.3d 419, 420 (Tex. App.–Amarillo 2002,
no pet.).  In other words, any connection between the discovery of the contraband and the
allegedly illegal stop was broken, and the trial court did not err in denying the motion to
suppress.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Issue 2 - Admission of Other Offenses and Bad Acts
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Next, appellant complains of the admission into evidence during the punishment
phase of excerpts taken from telephone conversations to which appellant was a party while
in jail.  The evidence purportedly was inadmissible because the State neglected to notice
her of its intent to use those conversations at trial.


  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Evidence of an extraneous crime or bad act is admissible during the punishment
phase of the trial  if the court deems it relevant and it is shown beyond a reasonable doubt
to have been committed by the defendant.  Tex. Code Crim. Proc. Ann. art. 37.07 §3(a)(1)
(Vernon Supp. 2008).  Furthermore, upon a timely request by the defendant, the State
must notify him of its intent to introduce such evidence.  Id. §3(g).  Again, to trigger the
State’s obligation, a defendant must serve the State with a request for notice or file a
motion requesting the court to order notice and obtain a ruling on that motion.  Henderson
v. State, 29 S.W.3d 616, 625 (Tex. App.–Houston [1st Dist.] 2000, pet. ref’d).  Here, no
such notice or motion appears of record.  And, though appellant says one was filed or
served, she does not cite to the record in effort to show she preserved the complaint. 
Finally, appellant’s motions in limine did not fill the void since she did not request prior
notification through it.  Nor did the trial court rule on those motions.  So, we cannot say that
the State’s duty to notify was ever triggered.            &nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Issue 3 - Lack of Reasonable Doubt Instruction 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Finally, appellant claims harmful error on the part of the trial court in failing to sua
sponte instruct the jurors on another matter regarding the jury’s consideration of
extraneous bad acts.  The instruction omitted was that directing the jury to forego
considering such acts unless it found, beyond reasonable doubt, that appellant committed
them.  We overrule the issue.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;While the failure to so instruct the jury constitutes error, Huizar v. State, 12 S.W.3d
479, 484 (Tex. Crim. App. 2000), Allen v. State, 47 S.W.3d 47, 50 (Tex. App.–Fort Worth
2001, pet. ref’d), we find that the error did not result in egregious harm.  See Almanza v.
State,  686 S.W.2d 157, 171 (Tex. Crim. App. 1984) (stating that harm must be egregious
when the defendant did not object to the omitting instruction); Neal v. State, 256 S.W.3d
264, 278 (Tex. Crim. App. 2008) (stating that harm is egregious if it deprives a defendant
of a fair and impartial trial).  This is so for several reasons.  First, appellant did not request
the instruction or object to its omission.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Second, though the instruction was omitted from the charge involving the
possession of narcotics, it was included in that involving the possession of a firearm. 
Moreover, the offenses were tried together.  So, it was actually before the jury when it was
assessing punishment on both crimes.  Moreover, we must presume that it considered the
instruction.  Adams v. State, 179 S.W.3d 161, 165 (Tex. App.–Amarillo 2005, no pet.)
(holding that the courts presume jurors abide by the instructions given them).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Second, appellant pled guilty to the charged offenses, one of which implicitly
included reference to a prior felony conviction.  So, the jurors legitimately knew that she
had a criminal record.  We also note that appellant does not suggest that any factual
dispute surrounded her two prior state jail felony convictions and three prior misdemeanor
convictions about which the jury was told.  Knowing that information alone would warrant
the sentence levied.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Third, while it is true that the State referred to the telephone conversations in its
closing in effort to portray appellant as a drug dealer, evidence of record nonetheless
indicated that she possessed a saleable amount of methamphetamine and scales.  From
that, a rational juror could reasonably deduce that she was involved in the sale of drugs. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Simply put and upon reviewing the totality of the record, we cannot say that
appellant was denied a fair and impartial trial.  Thus, the error did not give rise to egregious
harm. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Accordingly, the judgments of the trial court are affirmed. 
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Brian Quinn 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice
&nbsp;
Do not publish. 


